     Case 1:15-cr-00207-DAD-BAM Document 135 Filed 10/02/19 Page 1 of 1


 1
 2
 3
 4
 5
 6
 7
 8                               IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10    UNITED STATES OF AMERICA,                 )       Case No. 1:15-CR-00207-DAD
                                                )
11                      Plaintiff,              )                  ORDER
                                                )         WITHDRAWING THE FEDERAL
12            vs.                               )           DEFENDER AS COUNSEL,
                                                )       APPOINTING AD HOC CJA COUNSEL
13    JESUS SEBASTIAN MATA,                     )
                                                )
14                      Defendant.              )
                                                )
15
16            Upon Defendant’s motion and consent, good cause appearing, and for consistency of
17    representation,
18           IT IS HEREBY ORDERED, effective October 1, 2019, withdrawing the Federal
19    Defender as counsel and appointing Victor M. Chavez as ad hoc CJA counsel pursuant to 18
20    U.S.C. § 3006A(b) and Eastern District of California’s CJA Plan, Gen. Ord. 582, § X(C).
21
      IT IS SO ORDERED.
22
         Dated:     October 1, 2019
23                                                      UNITED STATES DISTRICT JUDGE
24
25
26
27
28


                                                    1
